                                         Case 4:19-cv-07562-PJH Document 380 Filed 03/22/23 Page 1 of 1




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                                  4                                UNITED STATES DISTRICT COURT

                                  5                            NORTHERN DISTRICT OF CALIFORNIA

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                                  7     CISCO SYSTEMS, INC., et al.,
                                                                                      Case No. 19-cv-07562-PJH
                                  8                  Plaintiffs,

                                  9            v.                                     JUDGMENT
                                  10    WILSON CHUNG, et al.,
                                  11                 Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14         The issues having been duly heard and the court having granted defendants’

                                  15   motions for summary judgment,

                                  16         it is Ordered and Adjudged

                                  17         that judgment is hereby entered in favor of defendants and against plaintiff.

                                  18         IT IS SO ORDERED.

                                  19   Dated: March 22, 2023

                                  20                                                  /s/ Phyllis J. Hamilton
                                                                                  PHYLLIS J. HAMILTON
                                  21                                              United States District Judge
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